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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

EASTERN DIVISION
)
ENTERASYS NETWORKS, INC., )
)
Plaintiff, ) Civil Action No. 05-11298 (DPW)
)
v. )
)
FOUNDRY NETWORKS, INC.; and )
EXTREME NETWORKS, INC., )
)
Defendants. )
)

 

MOTION TO ADMIT ROBERT A. AUCHTER PRO HAC VICE
Now comes Alan E. McKenna, counsel of record for the Plaintiff, and a member in good
standing of the bar of the United States District Court for the District of Massachusetts and of the
Massachusetts Supreme J udicial Court, and respectfully requests this Court to admit Robert A.
Auchter pro hac vice in this matter. In support of this Motion, Attorney McKenna states as
follows:
1. Attorney Auchter is an attorney practicing with the law firm of Robins, Kaplan,
Miller & Ciresi, LLP, Suite 1200, 1801 K Street N.W., Washington, D.C. 20006.
2. Attorney Auchter is admitted to practice in the District of Columbia and in the
following Federal Courts: The United States Court of Appeals for the Federal
Circuit, The United States Court of Federal Claims and The United States District
Court for the Southern District of Indiana.
3. Attorney Auchter is a member of the bar in good standing of every jurisdiction

where he has been admitted to practice.

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4. There are no disciplinary proceedings pending against Attorney Auchter as a

member of the bar of any jurisdiction

5. Attorney Auchter is familiar with the Local Rules of the United States District

Court for the District of Massachusetts.

ln further support of this Motion, Attorney McKenna submits the accompanying

Afiidavit of Robert A. Auchter, attached as Exhibit “A”.

WHEREFORE, Attorney McKenna respectfully requests that this Court allow this

Motion in its entirety.

DATED: July 5, 2005

Respectfully submitted,

ROBINS,.KAPLAN, MILLER & CIRESI, L.L.P.

Wz/%W/z/i

 

Christopher P. Sullivéi,/Esq. (BBO 485120)
Marc N. Henschke, Esq. (BBO NO. 636146)
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Attorneys for Plaintiff

ENTERASYS NETWORKS, INC.

STATEMENT REGARDING LOCAL RULE 7.1(A)(2)

Defendants’ counsel have not yet appeared, and no conference is therefore possible.

Q%/Z.%//§Q,/

 

Alan E. McKenW

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

EASTERN DIVISION
)
ENTERASYS NETWORKS, INC., )
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Plaintiff, ) Civil Action No. 05-11298 (DPW)
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)
Defendants. )
)

 

AFFIDAVIT OF ROBERT A. AUCHTER IN SUPPORT OF MOTION
TO ADMIT ROBERT A. AUCHTER PRO HAC VICE

The affiant, Robert Auchter hereby deposes and states:
1. I am an attorney in the law firm of Robins, Kaplan, Miller & Ciresi, LLP, Suite 1200,

1801 K Street N.W., Washington, D.C. 20006.

2. This affidavit is submitted in support of Alan E. McKenna’s Motion to Admit Robert A.
Auchter Pro Hac Vice.

3. I am admitted to practice in the District of Columbia and in the following F ederal Courts:
The United States Court of Appeals for the Federal Circuit, The United States Court of Federal
Claims, and The United States District Court for the Southern District of Indiana.

4. I am a member of the bar in good standing of every jurisdiction where I have been
admitted to practice.

5. There are no disciplinary proceedings pending against me as a member of the bar of any

jurisdiction

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6. I am familiar with the Local Rules of the United States District Court for the District of
Massachusetts.

SIGNED UNDER THE PAlNS AND PENALT[ES OF PERJURY this Z?_itday of June 2005.

Qt%W/%_/%%>

Robert A. Auchter

BNl 35024696.1

